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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION ZUIBAUG-2 PM 3:41

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JAMES RUZICKA, ace DISTRICT OF FLORIDA
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Plaintiff
-VS- CASE No. WIG W-12UI-ORL: 41 THS>
RECEIVABLES PERFORMANCE

MANAGEMENT, LLC

d/b/a RPM,

Defendant

COMPLAINT

COMES NOW Plaintiff, James Ruzicka, by and through the undersigned counsel, and
sues Defendant, RECEIVABLES PERFORMANCE MANAGEMENT, LLC d/b/a RPM,
(hereinafter “Defendant” ), and in support thereof respectfully alleges violations of the
Telephone Consumer Protection Act, 47 U.S.C. §227 et seg. (“TCPA”), the Florida Consumer
Collection Practices Act, Fla. Stat. §559.55 et seg. (“FCCPA”) and the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et. seg. (““FDCPA”).

INTRODUCTION

1, The TCPA was enacted to prevent companies like RECEIVABLES
PERFORMANCE MANAGEMENT, LLC d/b/a RPM from invading American citizen’s privacy
and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 $.Ct. 740, 745, 181

L.Ed. 2d 881 (2012).
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3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (11" Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fec.gov/edocs_public/attachmatch/DOC-333676A 1 pdf
JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(ii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11" Cir. 2014)
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8. The alleged violations described herein occurred in Volusia County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action
occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in the city
of Pierson, located in Volusia County, Florida.

10. Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §
1692(a)(3).

11. Plaintiff is an “alleged debtor.”

12. _ Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11'" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11"" Cir. 2014).

13. Defendant is a corporation with its principal place of business located at 20816
W. 44" Ave., West Lynwood, Washington 98036, and which conducts business in the State of
Florida through its registered agent, CT Corporation System located at 1200 South Pine Island
Road, Plantation Florida 33324.

14. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15
U.S.C. § 1692(a)(6).

15. The debt that is the subject matter of this complaint is a “consumer debt” as
defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

16. _‘ Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (386) ***-4740, and was the called party and recipient of Defendant’s calls.
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17. Defendant placed an exorbitant number of calls to Plaintiff's cellular telephone
(386) ***-4740 in an attempt to collect an alleged debt belonging to an unknown individual by
the name of Brenda Alamo.

18. On several occasions over the last four (4) years, Plaintiff instructed Defendant’s
agent(s) to stop calling his cellular telephone.

19. _ Plaintiff does not currently know, nor has ever known, an individual by the name
of Brenda Alamo.

20. Plaintiff does not currently have any account or business dealings with Defendant.

21. Defendant attempted to collect an alleged debt from the Plaintiff by this campaign
of telephone calls.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls
were being initiated from, but not limited to, the following phone number: 425-372-5305, and
when that numbers is called a pre-recorded voice answers and identifies the number as belonging
to RECEIVABLES PERFORMANCE MANAGEMENT.

24. | Upon information and belief, some or all of the calls the Defendant made to
Plaintiff's cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”). Plaintiff will testify that he knew it was an autodialer because he would hear
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either an extended pause before a representative would come on the line, or a pre-recorded
message instructing him to hold the line for the next available agent/representative.

25. In or about December of 2016, Plaintiff answered a call from Defendant to his
cellular telephone number ending in ...4740, met with an extended pause, held the line, was
eventually connected to a live representative, and informed an agent/representative of Defendant
that, he was not Brenda Alamo, that the calls were harassing, and demanded that they cease
calling his aforementioned cellular telephone number.

26. During the aforementioned December of 2016 phone call with Defendant,
Plaintiff unequivocally revoked any express consent Defendant may have mistakenly believed
they had for placement of telephone calls to Plaintiff's aforementioned cellular telephone number
by the use of an automatic telephone dialing system or a pre-recorded or artificial voice.

27. Each and every subsequent call the Defendant made to the Plaintiff's
aforementioned cellular telephone number was done so without the “express consent” of the
Plaintiff.

28. Each and every subsequent call the Defendant made to the Plaintiff's
aforementioned cellular telephone number was knowing and willful.

29. Additionally, in or about June of 2017, due to continued automated calls to his
cellular telephone number ending in ...4740, Plaintiff again answered a call from Defendant, met
with an extended pause, held the line and was eventually connected to a live representative, and
informed the agent/representative of Defendant that he had previously informed them that he was
not Brenda Alamo, not to call his cellular phone, and again demanded that Defendant cease

placing calls to his aforementioned cellular telephone number.

 

Plaintiff is a male named James Ruzicka.
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30. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abuse, calling the Plaintiff despite the Plaintiff informing Defendant that he was not
the individual for whom they were calling.

31. Defendant has placed approximately one hundred (100) calls to Plaintiff's
aforementioned cellular telephone numbers. Due to the volume and time period over which he
received automated calls, Plaintiff was not able to properly catalogue each and every call he
received from Defendant; thus, the exact number of calls will be established after a thorough
review of Defendant’s records.

32. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to the Plaintiff's cellular telephone in
this case.

33. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice, just as it did to the Plaintiff's cellular telephone in this case,
with no way for the consumer, or Defendant, to remove the number.

34.  Defendant’s corporate policy is structured as to continue to call individuals like
the Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

35. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

36. Defendant has numerous complaints against them across the country asserting that
their automatic telephone dialing system continues to call despite being requested to stop.

37. | Defendant has had numerous complaints from consumers against them across the

country asking to not be called, however the Defendant continues to call the consumers.
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38. | Defendant’s corporate policy provided no means for the Plaintiff to have his
number removed from the call list.

39. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge that the called parties do not wish to be called.

40. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

41. Defendant willfully and/or knowingly violated the TCPA with respect to the
Plaintiff.

42. From each and every call placed without express consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon
his right of seclusion.

43. | From each and every call without express consent placed by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line
and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or
outgoing calls while the phone was ringing from Defendant’s call.

44. From each and every call placed without express consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time. For
calls he answered, the time he spent on the call was unnecessary as he had repeatedly asked for
the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and
deal with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff's cellular phone, which are designed to

inform the user of important missed communications.
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45. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were
answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered
calls, Plaintiff had to waste time to unlock the phone and deal with missed call notifications and
call logs that reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff's cellular phone, which are designed to inform the user of important missed
communications.

46. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone resulted in the injury of unnecessary expenditure of Plaintiff's cell phone’s battery
power.

47. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone where a voice message was left which occupied space in Plaintiff's phone or network.

48. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone resulted in the injury of a trespass to Plaintiff's chattel, namely his cellular phone and
his cellular phone services.

49. As aresult of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness, and
aggravation.

COUNT I
(Violation of the TCPA)

50. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-nine
(49) as if fully set forth herein.
51. Defendant willfully violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified

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Defendant that he was not the individual for whom the Defendant was calling and wished for the
calls to stop.

52. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiffs prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A) (iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against RECEIVABLES PERFORMANCE MANAGEMENT, LLC d/b/a RPM, or
statutory damages, punitive damages, actual damages, treble damages, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

53. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-nine
(49) as if fully set forth herein..

54. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

55. Defendant has violated Florida Statute §559.72(7) by willfully communicating
with the debtor or any member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family.

56. Defendant has violated Florida Statute §559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.
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57. Defendant has violated Florida Statute §559.72(9) by attempting to enforce a debt
when such person knows that the debt is not legitimate or assert the existence of some other legal
right when such person knows the right does not exist.

58.  Defendant’s actions have directly and proximately resulted in Plaintiff's prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against RECEIVABLES PERFORMANCE MANAGEMENT, LLC d/b/a RPM for
statutory damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder
from further violations of these parts and any other such relief the court may deem just and
proper.

COUNT It
(Violation of the FDCPA)

59. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-nine
(49) as if fully set forth herein.

60.  Atall times relevant to this action Defendant is subject to and must abide by 15
U.S.C. § 1692 et seq.

61. Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the
natural consequence of which is to harass, oppress, or abuse any person in connection with the
collection of a debt.

62. Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or
engaging any person in telephone conversation repeatedly or continuously with intent to annoy,
abuse, or harass any person at the called number.

63. Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable

means to collect or attempt to collect any debt.

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against RECEIVABLES PERFORMANCE MANAGEMENT, LLC d/b/a RPM for
statutory damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder
from further violations of these parts and any other such relief the court may deem just and
proper.

Respectfully submitted,

 

A
Fatt Neal, Esq.

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
JNeal@forthepeople.com;
MMartinez@forthepeople.com
Florida Bar #: 774561

Attorney for Plaintiff
